     Case 1:25-cv-00554-JEB        Document 15-1    Filed 04/11/25    Page 1 of 21




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

KOLOA RUM COMPANY,

                 Plaintiff,                  Case No. 1:25-cv-00554-JEB

       v.

KRISTI NOEM, in her official capacity
as Secretary of Homeland Security; and
PETE R. FLORES, in his official
capacity as Acting Commissioner of
U.S. Customs and Border Protection,

                 Defendants.

                  MEMORANDUM IN SUPPORT OF MOTION OF
              MATSON NAVIGATION COMPANY, INC. TO INTERVENE
                       IN SUPPORT OF DEFENDANTS
                                           Miguel A. Estrada, DC Bar No. 456289
                                           Lucas C. Townsend, DC Bar No. 1000024
                                           Amalia Reiss, DC Bar No. 241775
                                           Eric Brooks,* DC Bar No. 1660507
                                           Noah J. Delwiche,* DC Bar No. 90027464
                                           MEstrada@gibsondunn.com
                                           LTownsend@gibsondunn.com
                                           AReiss@gibsondunn.com
                                           EBrooks2@gibsondunn.com
                                           NDelwiche@gibsondunn.com
                                           GIBSON, DUNN & CRUTCHER LLP
                                           1700 M Street, N.W.
                                           Washington, D.C. 20036
                                           (202) 955-8500
                                           *Application for admission pending.

                                           Rachel S. Brass, pro hac vice forthcoming
                                           RBrass@gibsondunn.com
                                           GIBSON, DUNN & CRUTCHER LLP
                                           One Embarcadero Center, Suite 2600
                                           San Francisco, CA 94111
                                           (415) 393-8200

                                           Counsel for Proposed Intervenor
                                           Matson Navigation Company, Inc.
        Case 1:25-cv-00554-JEB                         Document 15-1                   Filed 04/11/25               Page 2 of 21


                                                    TABLE OF CONTENTS

                                                                                                                                          Page


STATEMENT OF INTEREST ...................................................................................................... 1
BACKGROUND ........................................................................................................................... 2
          I.         The Jones Act And The Promotion Of An American Merchant Marine. .............. 2
          II.        This Litigation........................................................................................................ 4
LEGAL STANDARD .................................................................................................................... 5
ARGUMENT ................................................................................................................................. 5
          I.         Matson Is Entitled To Intervene As Of Right Under Rule 24(a) ........................... 5
                     A.         The Motion Is Timely ................................................................................ 6
                     B.         Matson Has An Interest Relating To The Jones Act That Is The
                                Subject Of This Action .............................................................................. 7
                     C.         The Disposition Of This Action May, As A Practical Matter,
                                Impair Or Impede Matson’s Ability To Protect Its Interests ..................... 8
                     D.         Matson’s Interests Will Not Be Adequately Represented By
                                Existing Parties .......................................................................................... 9
                     E.         Matson Has Article III Standing. ............................................................. 12
          II.        The Court Should Alternatively Grant Permissive Intervention Under Rule
                     24(b) ..................................................................................................................... 13
CONCLUSION ............................................................................................................................ 14




                                                                       -i-
        Case 1:25-cv-00554-JEB                       Document 15-1                 Filed 04/11/25             Page 3 of 21


                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
                                                                 Cases

100Reporters LLC v. United States Dep’t of Justice,
   307 F.R.D. 269 (D.D.C. 2014)...................................................................................................6

Akiachak Native Cmty. v. U.S. Dep’t of Interior,
   584 F. Supp. 2d 1 (D.D.C. 2008) ...............................................................................................7

Am. Horse Prot. Ass’n v. Veneman,
   200 F.R.D. 153 (D.D.C. 2001)...................................................................................................8

Aristotle Int’l, Inc. v. NGP Software, Inc.,
    714 F. Supp. 2d 1 (D.D.C. 2010) .............................................................................................14

Baude v. Heath,
   538 F.3d 608 (7th Cir. 2008) .....................................................................................................7

Berger v. N.C. State Conf. of the NAACP,
   597 U.S. 179 (2022) ...................................................................................................................9

Campaign Legal Ctr. v. Fed. Election Comm’n,
  334 F.R.D. 1 (D.D.C. 2019).................................................................................................6, 14

Cent. Vt. Transp. Co. v. Durning,
   294 U.S. 33 (1935) .....................................................................................................................3

Crossroads Grassroots Pol’y Strategies v. Fed. Election Comm’n,
   788 F.3d 312 (D.C. Cir. 2015) .............................................................................................7, 12

Ctr. for Biological Diversity v. EPA,
    274 F.R.D. 305 (D.D.C. 2011).................................................................................................14

Ctr. for Biological Diversity v. U.S. Dep’t of the Interior,
    640 F. Supp. 3d 59 (D.D.C. 2022) ...........................................................................................12

*Dimond v. District of Columbia,
   792 F.2d 179 (D.C. Cir. 1986) .....................................................................................7, 8, 9, 10

Eldred v. Ashcroft,
   255 F.3d 849 (D.C. Cir. 2001) .................................................................................................10

Farmer v. EPA,
   No. 24-CV-1654, 2024 WL 5118193 (D.D.C. Dec. 16, 2024)................................................13

Forest Cnty. Potawatomi Cmty. v. United States,
   317 F.R.D. 6 (D.D.C. 2016).......................................................................................................6

*Fund for Animals, Inc. v. Norton,
   322 F.3d 728 (D.C. Cir. 2003) .................................................................1, 5, 7, 8, 9, 10, 11, 12




                                                                   -ii-
        Case 1:25-cv-00554-JEB                       Document 15-1                Filed 04/11/25              Page 4 of 21


                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)
Hardin v. Jackson,
   600 F. Supp. 2d 13 (D.D.C. 2009) ...........................................................................................10

Indep. U.S. Tanker Owners Comm. v. Dole,
   809 F.2d 847 (D.C. Cir. 1987) ...................................................................................................3

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
    591 U.S. 657 (2020) .................................................................................................................13

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) .................................................................................................................12

Milos Prod. Tanker Corp. v. Valero Mktg. & Supply Co.,
   117 F.4th 1153 (9th Cir. 2024) ..................................................................................................4

Mova Pharm. Corp. v. Shalala,
  140 F.3d 1060 (D.C. Cir. 1998) .................................................................................................8

Nat. Res. Def. Council v. Costle,
   561 F.2d 904 (D.C. Cir. 1977) .................................................................................................11

Navistar, Inc. v. Jackson,
   840 F. Supp. 2d 357 (D.D.C. 2012) ...........................................................................................6

Nuesse v. Camp,
   385 F.2d 694 (D.C. Cir. 1967) .............................................................................................7, 13

Parker v. John Moriarty & Assocs.,
   319 F.R.D. 18 (D.D.C. 2016)...................................................................................................14

Roeder v. Islamic Republic of Iran,
   333 F.3d 228 (D.C. Cir. 2003) .................................................................................................12
Sault Ste. Marie Tribe of Chippewa Indians v. Bernhardt,
   331 F.R.D. 5 (D.D.C. 2019).....................................................................................................13

Sierra Club, Inc. v. EPA,
    358 F.3d 516 (7th Cir. 2004) ...................................................................................................11

Smoke v. Norton,
   252 F.3d 468 (D.C. Cir. 2001) .............................................................................................6, 11

Telligent Masonry, LLC v. Cont’l Cas. Co.,
    No. CV 19-1078 (RMC), 2019 WL 13255497 (D.D.C. July 3, 2019) ....................................12

Town of Chester v. Laroe Estates,
   581 U.S. 433 (2017) .................................................................................................................13

Trbovich v. United Mine Workers,
   404 U.S. 528 (1972) ...................................................................................................................9



                                                                  -iii-
        Case 1:25-cv-00554-JEB                         Document 15-1                 Filed 04/11/25               Page 5 of 21


                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                    Page(s)
United States v. Microsoft Corp.,
   No. 94-CV-01564, 1995 WL 121107 (D.D.C. Mar. 14, 1995) ...............................................11

United States v. Sineneng-Smith,
   590 U.S. 371 (2020) .................................................................................................................10

Va. House of Delegates v. Bethune-Hill,
    587 U.S. 658 (2019) .................................................................................................................13

Waterkeeper All., Inc. v. Wheeler,
   330 F.R.D. 1 (D.D.C. 2018).............................................................................................6, 7, 12

Wildearth Guardians v. Salazar,
   272 F.R.D. 4 (D.D.C. 2010)...................................................................................................8, 9

                                                                 Statutes

46 U.S.C. § 8103(b) .........................................................................................................................3

46 U.S.C. § 55101 ............................................................................................................................3

46 U.S.C. § 55102(b) .......................................................................................................................3

Merchant Marine Act of 1920, ch. 250, § 1, 41 Stat. 988, 988........................................................2

                                                                   Rules

*Fed. R. Civ. P. 24 ...........................................................................................................................8

Fed. R. Civ. P. 24(b) ......................................................................................................................13

Fed. R. Civ. P. 24(b)(3)..................................................................................................................13
                                                              Regulations
46 C.F.R. § 67.19 .............................................................................................................................3

                                                    Constitutional Provisions

U.S. CONST. art. I, § 9, cl. 6 .............................................................................................................4




                                                                     -iv-
      Case 1:25-cv-00554-JEB           Document 15-1         Filed 04/11/25       Page 6 of 21




        Plaintiff Koloa Rum Company filed a complaint in this Court challenging the

constitutionality of the Jones Act and naming the Secretary of Homeland Security and the Acting

Commissioner of U.S. Customs and Border Protection as defendants. Koloa Rum alleges that the

Jones Act violates (1) the Port Preference Clause of the U.S. Constitution by discriminating in

purpose and effect against Hawaii’s ports; and (2) the Fifth Amendment’s Due Process Clause by

restricting Koloa Rum’s right to earn a living. Matson Navigation Company, Inc. (“Matson”)

respectfully moves to intervene as of right in support of the defendants pursuant to Federal Rule

of Civil Procedure 24(a)(2), or alternatively, to intervene by permission under Rule 24(b)(1)(B).

        Matson is the largest Jones Act container carrier in the United States and the leading Jones

Act carrier for coastwise trade with Hawaii. Matson has a direct and vital stake in this litigation

and would be significantly harmed if the Court granted Koloa Rum its requested relief. Matson is

entitled to intervene as of right because (1) this motion is timely; (2) Matson has sufficient interests

in this litigation because Koloa Rum challenges the enforcement of the Jones Act with respect to

carriage between Hawaii and the mainland U.S.; (3) the disposition of this case could impair

Matson’s interests; and (4) the defendants do not adequately represent Matson’s interests in this

case. See Fund for Animals, Inc. v. Norton, 322 F.3d 728, 731 (D.C. Cir. 2003). Alternatively,

permissive intervention is proper under Rule 24(b).

                                  STATEMENT OF INTEREST

        Matson is the leading Jones Act carrier in the United States, the larger of the “two Jones

Act compliant [container carriers] available to Hawai‘i” that Koloa Rum references in its amended

complaint. Dkt. 13 (“FAC”) ¶ 47. Since 1882, Matson’s core business has been carrying freight

between the continental United States and Hawaii. See Declaration of Matthew J. Cox (“Cox

Decl.”) ¶¶ 4, 9. The Jones Act, enacted as part of the Merchant Marine Act of 1920, has shaped




                                                  -1-
      Case 1:25-cv-00554-JEB           Document 15-1      Filed 04/11/25      Page 7 of 21




Matson’s fundamental business strategy for more than a century. Today, Matson owns seventeen

and charters one Jones Act-compliant vessels, employs over 4,300 individuals, and earns

approximately half of its $2.8 billion in annual ocean transportation revenues from Jones Act trade

with Hawaii and Alaska. Id. ¶¶ 7, 9.

       In addition to its historical investments and operations in Jones Act trade, Matson is

investing over $1 billion to expand its Jones Act-compliant carriage between Hawaii and the U.S.

mainland. Cox Decl. ¶ 12. Construction of three new Jones Act-compliant vessels for Matson’s

fleet is underway. Id. Matson has invested—and continues to invest—in cranes, terminals, and

other capital-intensive projects to enhance coastwise trade with Hawaii. Id. ¶¶ 12-13. Matson also

owns a 35-percent interest in a joint venture that operates exclusive-use terminals for Matson in

Long Beach and Oakland, California and Tacoma, Washington to help ensure the timely unloading

of goods for Hawaii. Id. ¶ 8. Matson makes all of these decisions in reliance on the Jones Act.

Id. ¶ 15. Accordingly, Matson unquestionably has a strong interest in intervening to defend the

Jones Act.

                                        BACKGROUND

       I.      The Jones Act And The Promotion Of An American Merchant Marine.

       The “Jones Act” refers to Section 27 of the Merchant Marine Act of 1920, which Congress

passed to encourage the growth of “a merchant marine of the best equipped and most suitable types

of vessels sufficient to carry the greater portion of its commerce and serve as a naval or military

auxiliary in time of war or national emergency.” Merchant Marine Act of 1920, ch. 250, § 1, 41

Stat. 988, 988 (codified as amended at 46 U.S.C. § 50101, et seq.). Under the Jones Act, “a vessel

may not provide any part of the transportation of merchandise by water, or by land and water,

between points in the United States to which the coastwise laws apply, either directly or via a




                                                -2-
      Case 1:25-cv-00554-JEB          Document 15-1         Filed 04/11/25      Page 8 of 21




foreign port, unless the vessel—(1) is wholly owned by citizens of the United States for purposes

of engaging in the coastwise trade; and (2) has been issued a certificate of documentation with a

coastwise endorsement . . . or is exempt from documentation but would otherwise be eligible for

such a certificate and endorsement.” 46 U.S.C. § 55102(b). To receive a coastwise endorsement,

a vessel must have a crew of at least 75 percent American citizens or permanent residents. 46

U.S.C. § 8103(b). Thus, with limited exceptions, only U.S.-built, -owned, and -crewed vessels

may conduct U.S. coastwise trade, meaning trade between points in the United States, including

its island territories and possessions (except for American Samoa, the Virgin Islands, and in certain

cases, the Northern Mariana Islands). See 46 U.S.C. §§ 55101, 55102(b); 46 C.F.R § 67.19.

       The Jones Act “encourage[s] the development of a U.S. merchant marine, for both national

defense and commercial purposes.” U.S. CUSTOMS AND BORDER PROTECTION, WHAT EVERY

MEMBER OF THE TRADE COMMUNITY SHOULD KNOW ABOUT: THE JONES ACT 7 (2024),

https://tinyurl.com/234ked7z. The Jones Act is one of “a series of statutes” passed by Congress,

“beginning with the first year of the government, which have imposed restrictions of steadily

increasing rigor on the transportation of freight in coastwise traffic by vessels not owned by

citizens of the United States.” Cent. Vt. Transp. Co. v. Durning, 294 U.S. 33, 38 (1935). American

vessels historically have been more expensive to build and operate “not only because they typically

must meet more stringent environmental and safety standards, but also because foreign ships often

are subsidized and otherwise assisted by their own governments.” Indep. U.S. Tanker Owners

Comm. v. Dole, 809 F.2d 847, 849 (D.C. Cir. 1987). The enforcement of the Jones Act thus helps

equalize competition between American and foreign vessels by reserving a domestic market for

American ships. And by stimulating a U.S. merchant marine, the Jones Act ensures safe and

consistent carriage to far-flung parts of the U.S., including major military bases, and a stable and




                                                 -3-
        Case 1:25-cv-00554-JEB         Document 15-1            Filed 04/11/25   Page 9 of 21




secure supply of goods for the U.S. citizens there. See, e.g., Sen. Roger Wicker et al., Why the

Jones     Act   is   Still   Needed   100   Years      Later,    DEFENSENEWS     (June   5,   2020),

https://tinyurl.com/2p4pphjx.

         II.    This Litigation.

         Koloa Rum, a Hawaiian rum producer, alleges that the Jones Act violates the Port

Preference Clause of the U.S. Constitution by discriminating in purpose and effect against

Hawaii’s ports. See FAC ¶¶ 7-10; U.S. CONST. art. I, § 9, cl. 6 (“No Preference shall be given by

any Regulation of Commerce or Revenue to the Ports of one State over those of another.”). Koloa

Rum also alleges that the Jones Act violates the Fifth Amendment’s Due Process Clause. See FAC

¶ 10. Specifically, Koloa Rum alleges that the Jones Act “drives up shipping costs and the overall

costs of doing business on the island.” Id. ¶ 47. Koloa Rum alleges that “only two Jones Act

compliant shippers [sic]”—one of which is Matson—provide coastwise carriage to Hawaii. Id. 1

Koloa Rum asks this Court to declare the Jones Act unconstitutional under the Port Preference

Clause and Due Process Clause and grant “injunctive relief to prevent Defendants from enforcing

the Jones Act’s restrictions as applied to interstate commerce between Hawai‘i and the mainland

United States.” Id. ¶ 79. The defendants currently must file a responsive pleading by May 12,

2025. See Dkts. 9, 9-1.

         Counsel for Matson has conferred with counsel for the parties regarding this motion, noting

that Matson intends to intervene as a defendant and file a dispositive motion in accordance with

the existing briefing schedule or a schedule stipulated by the parties. Counsel for the defendants




1
  The complaint uses certain terminology incorrectly. Vessel operators (such as Matson) are
referred to as “carriers,” whereas companies that utilize transportation services to ship goods (such
as Koloa Rum) are referred to as “shippers.” See generally Milos Prod. Tanker Corp. v. Valero
Mktg. & Supply Co., 117 F.4th 1153, 1159 (9th Cir. 2024) (defining these terms).

                                                 -4-
     Case 1:25-cv-00554-JEB            Document 15-1         Filed 04/11/25      Page 10 of 21




did not confirm their position on the requested relief as of the time of filing. Counsel for Koloa

Rum stated that Koloa Rum opposes Matson’s intervention.

                                       LEGAL STANDARD

        Under Rule 24(a)(2), a movant has a right to intervene when: (1) the motion is timely;

(2) the movant “claims an interest relating to the property or transaction which is the subject of the

action”; (3) “the [movant] is so situated that the disposition of the action may as a practical matter

impair or impede the applicant’s ability to protect that interest”; and (4) “the [movant’s] interest is

[not] adequately represented by existing parties.” Fund for Animals, 322 F.3d at 731 (quotation

marks omitted). Under Rule 24(b), “[o]n timely motion, the court may permit anyone to intervene

who . . . has a claim or defense that shares with the main action a common question of law or fact.”

                                            ARGUMENT

        For the reasons set forth below, Matson should be allowed to intervene under Rule 24 as

of right, or, alternatively, by permission, in order to defend the constitutionality of the Jones Act. 2

        I.      Matson Is Entitled To Intervene As Of Right Under Rule 24(a).

        Matson is entitled to intervene in this action as a matter of right under Rule 24(a) because:

(a) the motion is timely; (b) Matson claims an interest relating to the Jones Act; (c) disposition of

this action may, as a practical matter, impair or impede Matson’s ability to protects its interests;

(d) Matson’s interests are not adequately represented by the existing parties; and (e) Matson has

Article III standing. The Court therefore should grant Matson’s motion under Rule 24(a).




2
 Matson has filed concurrently with this Motion a proposed answer pursuant to Local Civil Rule
7(j), but intends to file a Rule 12 motion in accordance with the schedule set by the parties and
court should intervention be granted.

                                                  -5-
     Case 1:25-cv-00554-JEB           Document 15-1        Filed 04/11/25      Page 11 of 21




               A.      The Motion Is Timely.

       Rule 24(a) requires that motions to intervene be “timely.” The timeliness of a motion to

intervene is “to be judged in consideration of all the circumstances,” Smoke v. Norton, 252 F.3d

468, 471 (D.C. Cir. 2001) (quotation marks omitted), but mainly considers the “time elapsed since

the inception of the action” and “the probability of prejudice to those already party to the

proceedings,” Forest Cnty. Potawatomi Cmty. v. United States, 317 F.R.D. 6, 10 (D.D.C. 2016).

Matson’s motion is timely.

       First, less than two months has elapsed since Koloa Rum filed its original complaint on

February 25, 2025, see Dkt. 1, and only two weeks has elapsed since Koloa Rum filed its amended

complaint on March 31, 2025, see Dkt. 13. The defendants have yet to appear in this case, and no

litigation has yet occurred. Motions to intervene submitted less than two months after the filing

of a complaint and before a defendant’s answer are “certainly timely.” Campaign Legal Ctr. v.

Fed. Election Comm’n, 334 F.R.D. 1, 6 (D.D.C. 2019). Courts in this Circuit routinely find

motions filed on similar timeframes to be timely. See, e.g., Forest Cnty., 317 F.R.D. at 13 (motion

filed before defendants filed answer); Waterkeeper All., Inc. v. Wheeler, 330 F.R.D. 1, 6 (D.D.C.

2018) (motion filed almost two months after suit commenced); 100Reporters LLC v. United States

Dep’t of Justice, 307 F.R.D. 269, 274-75 (D.D.C. 2014) (motion filed approximately three months

after the complaint); Navistar, Inc. v. Jackson, 840 F. Supp. 2d 357, 361 (D.D.C. 2012) (motion

filed two and a half months after the complaint).

       Second, there will be no prejudice to the parties. The defendants have yet to file a

responsive pleading. Matson has committed to filing a motion or responsive pleading on the same

schedule that will govern the defendants and therefore will not delay the proceedings. Intervention

at this early stage therefore would not cause any prejudice to the existing parties.




                                                 -6-
     Case 1:25-cv-00554-JEB            Document 15-1        Filed 04/11/25      Page 12 of 21




                 B.      Matson Has An Interest Relating To The Jones Act That Is The
                         Subject Of This Action.

          Courts in this Circuit take a “liberal approach” to Rule 24(a)’s legal interest requirement.

Akiachak Native Cmty. v. U.S. Dep’t of Interior, 584 F. Supp. 2d 1, 6 (D.D.C. 2008). The “‘interest’

test is primarily a practical guide to disposing of lawsuits by involving as many apparently

concerned persons as is compatible with efficiency and due process.” Nuesse v. Camp, 385 F.2d

694, 700 (D.C. Cir. 1967). Courts routinely allow private parties to intervene to defend statutes or

other governmental action that benefit them. See, e.g., Baude v. Heath, 538 F.3d 608, 612 (7th Cir.

2008) (noting that a trade association intervened to defend the constitutionality of a statute that

benefited its members); Dimond v. District of Columbia, 792 F.2d 179, 192 (D.C. Cir. 1986)

(insurance company had a legally protected interest when it “relied upon” a challenged statute in

setting rates for insurance policies); Waterkeeper All., 330 F.R.D. at 7 (noting that a “sufficient

legal interest . . . typically is established ‘where a party benefits from agency action, the action is

then challenged in court, and an unfavorable decision would remove the party’s benefit’”) (quoting

Crossroads Grassroots Pol’y Strategies v. Fed. Election Comm’n, 788 F.3d 312, 317 (D.C. Cir.

2015)).

          Because this suit directly concerns Jones Act-compliant carriage with Hawaii, “there can

be no question” that Matson has a legally protected interest in this action. Fund for Animals, 322

F.3d 728 at 735. As “the largest carrier of ocean cargo between the U.S. mainland and Hawaii,”

Matson undisputably relies on and benefits from the Jones Act. Cox Decl. ¶ 3. Matson owns or

charters a fleet of 18 Jones Act-compliant vessels and provides extensive Jones Act-compliant

carriage between the U.S. mainland and Hawaii. Id. ¶ 7. Last year, approximately half of Matson’s

$2.8 billion in total ocean transportation revenues derived from Jones Act-compliant trade to and

from Hawaii and Alaska. Id. ¶ 9. Matson has also made substantial investments in reliance on the


                                                  -7-
     Case 1:25-cv-00554-JEB            Document 15-1         Filed 04/11/25      Page 13 of 21




Jones Act, including $500 million in 2002 for four containerships, approximately $1 billion from

2013 to 2020 for four additional vessels, another $1 billion through 2028 for three new

containerships, and an ongoing $60 million modernization project of its terminal facility at Sand

Island, Honolulu. Id. ¶¶ 10-12. And Matson has invested approximately $900 million in acquiring

or leasing cranes, containers, and other equipment to operate its coastwise carriage. Id. ¶ 13.

Matson therefore has a legally protected interest in this action. See Fund for Animals, 322 F.3d at

735 (Mongolian agency had legally protected interest when defendant agency promulgated

regulation concerning Mongolian sheep); Dimond, 792 F.2d at 192 (insurance company had a

legally protected interest in defending a statute that it relied upon to set insurance rates); Wildearth

Guardians v. Salazar, 272 F.R.D. 4, 14 (D.D.C. 2010) (coal company had legally protected interest

in agency decision to sell public land near the company’s mining operations).

                C.      The Disposition Of This Action May, As A Practical Matter, Impair
                        Or Impede Matson’s Ability To Protect Its Interests.

        “In determining whether a movant’s interests will be impaired by an action, courts in this

circuit look to the ‘practical consequences’ to [the] movant of denying intervention.” Am. Horse

Prot. Ass’n v. Veneman, 200 F.R.D. 153, 158 (D.D.C. 2001); see also Fed. R. Civ. P. 24, advisory

committee’s note to 1966 amendment (“If an absentee would be substantially affected in a practical

sense by the determination made in an action, he should, as a general rule, be entitled to

intervene.”). An intervenor-defendant satisfies this factor if its “loss of revenues during any

interim period would be substantial and likely irreparable.” Fund For Animals, 322 F.3d at 735;

see also Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1076 (D.C. Cir. 1998) (holding that the

“danger of losing market share” due to an adverse ruling satisfies Rule 24(a)’s third factor).

        Here, Koloa Rum seeks to invalidate the “Jones Act’s restrictions as applied to interstate

commerce between Hawai‘i and the mainland United States.” FAC ¶ 79. Such an outcome would


                                                  -8-
     Case 1:25-cv-00554-JEB            Document 15-1         Filed 04/11/25      Page 14 of 21




directly impair and undermine Matson’s substantial investments in Jones Act-compliant vessels

and shipping services between Hawaii and the U.S. mainland. See Cox Decl. ¶ 15. Matson has

yet to fully recover its $1 billion investment in the four Jones Act-compliant vessels built through

2020, and would be unable to recover its additional $1 billion investment in the ongoing

construction of Jones Act-compliant ships, id. ¶¶ 11, 15, which would threaten its “ability to

remain competitive in the national . . . market in both the short and long term.” Wildearth

Guardians, 272 F.R.D. at 15. And any loss in Matson’s revenues during the intervening period

would be substantial and likely irreparable. See Cox Decl. ¶ 15.

               D.      Matson’s Interests Will Not Be Adequately Represented By Existing
                       Parties.

       Matson need only show that representation of its interests by existing parties “may be”

inadequate and “the burden of making that showing should be treated as minimal.” Fund for

Animals, 322 F.3d at 735 (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10

(1972)); see also Dimond, 792 at 192 (“[T]he applicant need only show that representation of his

interest ‘may be’ inadequate, not that representation will in fact be inadequate.”). Matson easily

clears that bar for several reasons.

       First, Koloa Rum obviously does not represent Matson’s interests here. But neither do the

defendants. As the Jones Act regulator, the government “is charged by law with representing the

public interest of its citizens,” not the particular interests of a private intervenor. Dimond, 792 F.2d

at 192. While the defendants’ and Matson’s interests may be aligned “[a]t a high level of

abstraction” in that both would be defending the Jones Act, their precise interests are “not

‘identical.’” Berger v. N.C. State Conf. of the NAACP, 597 U.S. 179, 196 (2022). Unlike the

defendants, Matson is a private coastwise carrier that relies on and benefits directly from the Jones

Act, and courts in this Circuit have “often concluded that governmental entities do not adequately


                                                  -9-
     Case 1:25-cv-00554-JEB          Document 15-1        Filed 04/11/25     Page 15 of 21




represent the interests of aspiring intervenors.” Fund For Animals, 322 F.3d at 736; see Dimond,

792 F.2d at 181, 192–93 (allowing a private party to intervene to defend a statute from

constitutional challenge); Hardin v. Jackson, 600 F. Supp. 2d 13, 16 (D.D.C. 2009) (“The EPA

does not oppose intervention, and the D.C. Circuit has repeatedly held that private companies can

intervene on the side of the government, even if some of their interests converge.”).

       Matson’s long history as the leading coastwise carrier in the Pacific gives it a unique

interest in this case. Matson has provided carriage to Hawaii for more than 140 years—since

Hawaii was a kingdom. See Cox Decl. ¶ 4. Not only does Matson have more than a century of

commercial experience operating under the Jones Act, it also operated under prior cabotage

legislation. See id. Indeed, Matson is repeatedly mentioned throughout the Jones Act legislative

history that Koloa Rum misleadingly cites in its complaint. See FAC ¶¶ 23-25; 58 CONG. REC.

3519 (1919) (statement of Rep. Kahn) (“The Matson Co. contemplated building additional

American ships when this war broke out. They were stopped in their efforts on account of the war,

but I have no doubt that as soon as conditions are again normal this line will put additional

American ships into the service between the mainland and the Hawaiian Islands.”). No party is

better able to speak to the commercial realities of the Jones Act and predecessor statutes,

particularly with respect to the Hawaii service that Koloa Rum challenges, than Matson.

       Moreover, amicus status would be inadequate. The government is under no obligation to

adopt Matson’s views in litigation, which could imperil Matson’s rights and interests. See

generally United States v. Sineneng-Smith, 590 U.S. 371, 375–76 (2020) (discussing the principle

of “party presentation”); Eldred v. Ashcroft, 255 F.3d 849, 850–52 (D.C. Cir. 2001) (declining to

adopt amicus arguments not expressly adopted by the parties). Moreover, if this case proceeds to

discovery, the merits issues are likely to be fact-dependent and the evidentiary record complex.




                                               -10-
     Case 1:25-cv-00554-JEB           Document 15-1         Filed 04/11/25      Page 16 of 21




For example, the parties may need to develop evidence about shipping routes to Hawaii and

throughout the Pacific, geographic considerations, the effects of foreign laws, tariffs, and actions

by international carriers, and other factors that contribute to the costs of goods and the availability

of shipping options in Hawaii.       Matson is uniquely well-situated to develop the necessary

evidentiary record. But if Matson is relegated to amicus status, it may be unable to participate in

record development. See, e.g., United States v. Microsoft Corp., No. 94-CV-01564, 1995 WL

121107, at *1 (D.D.C. Mar. 14, 1995) (noting that “[n]one of the amici has been accorded the

customary discovery rights that parties have under the Federal Rules of Civil Procedure”).

       Second, Matson is “likely to serve as a vigorous and helpful supplement” to the

government’s defense. Fund for Animals, 322 F.3d at 736 n.9. With over a century of experience

investing in and operating Jones Act vessels, Matson is best positioned to explain how the Act

works in practice, refute the factual inaccuracies in the complaint, and explain possible unforeseen

effects of enjoining enforcement of the Act. See id.; Nat. Res. Def. Council v. Costle, 561 F.2d

904, 913 (D.C. Cir. 1977) (holding that a private company could intervene “on the basis of their

experience and expertise in their relevant fields”). The defendants cannot adequately provide that

perspective.

       Third, if the government loses this case, “the Solicitor General may decide that the matter

lacks sufficient general importance to justify” an appeal. Sierra Club, Inc. v. EPA, 358 F.3d 516,

518 (7th Cir. 2004). Intervention is therefore critical to ensure that, in that event, Matson could

continue to press its interests, which could otherwise be lost at that point. Cf. Smoke, 252 F.3d at

472 (Henderson, J., concurring) (assuming that the government would not adequately represent

aspiring intervenors’ interests if they could have appealed “had they been parties before the district

court ruled”).




                                                 -11-
     Case 1:25-cv-00554-JEB           Document 15-1         Filed 04/11/25      Page 17 of 21




               E.       Matson Has Article III Standing.

       This Circuit also has traditionally required “a party seeking to intervene as of right [to]

demonstrate that it has standing under Article III of the Constitution,” Fund for Animals, 322 F.3d

at 731–32, and has explained that “any person who satisfies Rule 24(a) will also meet Article III’s

standing requirement,” Roeder v. Islamic Republic of Iran, 333 F.3d 228, 233 (D.C. Cir. 2003).

Here, Matson satisfies all the elements for intervention as of right under Rule 24(a), and therefore

has Article III standing. See Waterkeeper All., 330 F.R.D. at 6, 8 n.6 (relying on Roeder to hold

that an intervenor had Article III standing because it satisfied the elements of Rule 24(a)); Telligent

Masonry, LLC v. Cont’l Cas. Co., No. CV 19-1078 (RMC), 2019 WL 13255497, at *2 (D.D.C.

July 3, 2019) (same).

       Put differently, Matson meets the traditional Article III standing requirements of injury in

fact, causation, and redressability. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

Because Matson directly benefits from the Jones Act, it “would suffer concrete injury if the court

were to grant the relief” that Koloa Rum seeks. Fund for Animals, 322 F.3d at 733; see also

Crossroads, 788 F.3d at 317–18 (finding that an intervenor suffered a concrete injury because it

benefited from the challenged agency action). As noted above, Koloa Rum’s requested relief

would undermine Matson’s longstanding and ongoing investments in Jones Act-compliant

carriage. Moreover, Matson easily satisfies the causation and redressability requirements here

because if Koloa Rum’s litigation were successful, Matson would be stripped of the benefits it

receives as a result of its substantial investments in Jones Act-compliant vessels. See Ctr. for

Biological Diversity v. U.S. Dep’t of the Interior, 640 F. Supp. 3d 59, 66 (D.D.C. 2022) (holding

that intervenors satisfied Article III standing given their “financial investments” in and benefit




                                                 -12-
     Case 1:25-cv-00554-JEB            Document 15-1         Filed 04/11/25     Page 18 of 21




from a challenged regulatory scheme). Therefore, to the extent a separate standing inquiry is

relevant here, Matson easily satisfies Article III standing. 3

       II.     The Court Should Alternatively Grant Permissive Intervention Under Rule
               24(b).

       In the alternative, this Court should grant Matson permission to intervene under Rule 24(b).

See Fed. R. Civ. P. 24(b) (“On timely motion, the court may permit anyone to intervene who . . .

has a claim or defense that shares with the main action a common question of law or fact.”). This

is not a restrictive standard: “Rule 24(b) . . . provides basically that anyone may be permitted to

intervene if his claim and the main action have a common question of law or fact,” Nuesse, 385 at

704, so long as intervention would not “unduly delay or prejudice the adjudication of the original

parties’ rights,” Fed. R. Civ. P. 24(b)(3). This Court has “wide latitude” and “discretio[n]” to grant

“[p]ermissive intervention.” Sault Ste. Marie Tribe of Chippewa Indians v. Bernhardt, 331 F.R.D.

5, 9 (D.D.C. 2019) (quotation marks omitted).

       Matson easily meets this standard. Matson’s arguments in this action share common

questions of law and fact with Koloa Rum’s action. Further, the Motion here is timely, and no

party will be prejudiced by Matson’s intervention and participation. See Part I.A, supra. Matson


3
  It is questionable whether a party seeking to intervene as a defendant must demonstrate Article
III standing, at least when the proposed intervenor seeks no relief beyond that sought by the
existing parties to the litigation. The Supreme Court has held that an intervenor of right need only
demonstrate Article III standing when “seek[ing] additional relief beyond that which the plaintiff
requests.” Town of Chester v. Laroe Estates, 581 U.S. 433, 439 (2017); accord Little Sisters of
the Poor Saints Peter & Paul Home v. Pennsylvania, 591 U.S. 657, 674 n.6 (2020) (holding that
Third Circuit erred in inquiring into intervenor’s independent Article III appellate standing when
the intervenor sought same relief as the government); Va. House of Delegates v. Bethune-Hill, 587
U.S. 658, 663 (2019) (state legislative house did not have “to demonstrate its standing” to
“interven[e] in support of the State Defendants”). Here, Matson seeks only to defend against Koloa
Rum’s claims and does not intend to assert claims seeking additional relief. Although recent cases
from this District have divided on the need for Article III standing in these circumstances, see
Farmer v. EPA, No. 24-CV-1654, 2024 WL 5118193, at *2 n.2 (D.D.C. Dec. 16, 2024) (collecting
cases), Matson has Article III standing in any event.

                                                 -13-
     Case 1:25-cv-00554-JEB           Document 15-1       Filed 04/11/25     Page 19 of 21




will not unnecessarily stall resolution of this case. See Campaign Legal Ctr., 334 F.R.D at 6. Nor

will Matson “require discovery into matters completely unrelated” to Koloa Rum’s claim. Parker

v. John Moriarty & Assocs., 319 F.R.D. 18, 23 (D.D.C. 2016). And Matson will “contribute to . . .

the just and equitable adjudication of the legal question presented,” Aristotle Int’l, Inc. v. NGP

Software, Inc., 714 F. Supp. 2d 1, 18 (D.D.C. 2010) (quotation marks omitted), by bringing

“substantial expertise and a unique perspective” to the case, Ctr. for Biological Diversity v. EPA,

274 F.R.D. 305, 313 (D.D.C. 2011). In light of Rule 24(b)’s low threshold, the potential harms to

Matson’s interests detailed above establish grounds for permissive intervention.

                                         CONCLUSION

       For the foregoing reasons, Matson respectfully requests that the Court grant it leave to

intervene in this case in support of the defendants.




                                                -14-
     Case 1:25-cv-00554-JEB   Document 15-1      Filed 04/11/25     Page 20 of 21




Dated: April 11, 2025         Respectfully submitted,


                              /s/ Miguel A. Estrada
                              Miguel A. Estrada (DC Bar No. 456289)
                              Lucas C. Townsend (DC Bar No. 1000024)
                              Amalia Reiss (DC Bar No. 241775)
                              Eric Brooks* (DC Bar No. 1660507)
                              Noah J. Delwiche* (DC Bar No. 90027464)
                              GIBSON, DUNN & CRUTCHER LLP
                              1700 M Street, N.W.
                              Washington, D.C. 20036-4504
                              (202) 955-8500
                              MEstrada@gibsondunn.com
                              LTownsend@gibsondunn.com
                              AReiss@gibsondunn.com
                              EBrooks2@gibsondunn.com
                              NDelwiche@gibsondunn.com

                              *Application for admission pending.

                              Rachel S. Brass, pro hac vice forthcoming
                              GIBSON, DUNN & CRUTCHER LLP
                              One Embarcadero Center, Suite 2600
                              San Francisco, CA 94111-3715
                              (415) 393-8200
                              RBrass@gibsondunn.com

                              Counsel for Proposed Intervenor
                              Matson Navigation Company, Inc.




                                      -15-
     Case 1:25-cv-00554-JEB        Document 15-1       Filed 04/11/25     Page 21 of 21




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2025, I caused a copy of the foregoing document to be

served on all parties through the Court’s CM/ECF system.



                                    /s/ Miguel A. Estrada
                                    Miguel A. Estrada (DC Bar No. 456289)
